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 7
                      IN THE UNITED STATES DISTRICT COURT
 8
                     FOR THE EASTERN DISTRICT OF CALIFORNIA
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10
     UNITED STATES OF AMERICA,     )
11                                 )          CR NO. S-07-289 LKK
                    Plaintiff,     )
12                                 )
               v.                  )          ORDER RE STATUS CONFERENCE
13                                 )
     EDI CAMACHO, et. al.,         )
14                                 )
                    Defendants.    )
15   ______________________________)

16        On January 29, 2008, at 9:30 a.m., this matter came on for a

17   status conference.    The United States appeared through Assistant

18   United States Attorneys Carolyn K. Delaney and Samuel Wong.

19   Defendant Edi Camacho appeared with his counsel James Greiner;

20   defendant Misael Camacho appeared with his attorney Dwight Samuel;

21   defendant Juan Camacho appeared with his attorney Gil Roque; and

22   defendant Luis Humberto Lopez-Avilez appeared with his attorney

23   Mark Reichel.   All defendants were assisted by a Spanish

24   interpreter.

25        The government and the defendants agreed that a further

26   status conference should be scheduled on April 8, 2008, and that

27   time should be excluded until that date based on the need for all

28   defense counsel to review the voluminous discovery and prepare

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 1   (local code T4) and because of the complexity of the case (local

 2   code T2).

 3        Accordingly, the Court entered the following orders:

 4        For good cause shown, IT IS HEREBY ORDERED THAT:

 5        1.     The case is scheduled for a further status conference on

 6   April 8, 2008.

 7        2.     The time between January 29, 2008 and April 8, 2008 is

 8   excluded under the Speedy Trial Act pursuant to Local Code T4,

 9   Title 18, United States Code, Section 3161 (h)(8)(B)(iv), to give

10   the defendants time to review the discovery and to adequately

11   prepare; and Local Code T2, Title 18, United States Code, Section

12   3161 (h)(8)(B)(ii).    The Court specifically finds that the case is

13   complex and that a continuance is necessary to give the defendants

14   reasonable time to prepare for trial in this matter.          The Court

15   finds that the ends of justice served by granting a continuance

16   outweigh the best interest of the public and defendants in a

17   speedy trial.

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20   DATE: February 1, 2008

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